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                                                                           Attachment 3
                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


 CHRISTOPHER O’CONNOR, KEVIN                    )
 O’CONNOR, JAMES ADAM COX,                      )
 MICHAEL FRASER, and ROBERT                     )
 McNALLY, on behalf of themselves and           )
 all others similarly situated,                 )
                                                )    Case No. 2:14-cv-00192-NT
                       Plaintiffs,              )
                                                )
                v.                              )
                                                )
 OAKHURST DAIRY AND DAIRY                       )
 FARMERS OF AMERICA, INC.,                      )
                                                )
                       Defendants.              )


                                 [PROPOSED]
                     ORDER AUTHORIZING NOTICE TO CLASS
               AND ESTABLISHING SCHEDULE FOR FURTHER ACTION

        Before the Court is the parties’ Joint Motion for preliminary review of their proposed

 class settlement and for an Order Preliminarily Approving Class Settlement, Preliminarily

 Certifying Settlement Class, Directing Distribution of Class Notice, Setting Hearing for Final

 Approval of Settlement, and Appointing Settlement Class Counsel and Class Representatives. To

 ensure proper notice is provided to class members in accordance with due process requirements;

 and to conduct a final approval hearing as to the good faith, fairness, adequacy and

 reasonableness of any proposed settlement, I HEREBY MAKE THE FOLLOWING

 DETERMINATIONS AND ORDERS:

        1.     This Order incorporates by reference the definitions in the Settlement Agreement

 and Release, and all terms defined therein shall have the same meaning in this Order as set forth

 in the Settlement Agreement and Release.
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        2.      The Court GRANTS the parties’ request for a preliminary review of the

 Settlement Agreement, finding it appears to fall within the range of possible final approval. It

 further appears that sufficient informal and formal discovery, investigation, research, and

 contested litigation have been conducted for experienced counsel to reasonably evaluate their

 respective positions. It further appears that settlement at this time will avoid substantial costs,

 delay and risks that would be presented by the further prosecution of the litigation. It also

 appears that the proposed Settlement Agreement has been reached as the result of intensive,

 informed, and non-collusive negotiations between the parties following multiple days of

 mediation with a skilled and respected mediator and a Judicial Settlement Officer of this Court.

        3.      The Court GRANTS the parties’ request for preliminary certification of the

 following Rule 23 Settlement Class for the sole, and limited, purpose of implementing the terms

 of the Settlement Agreement, subject to this Court’s final approval:

        All current and former Route Sales Drivers assigned to an Oakhurst location in
        Maine who performed compensable work as employees of Oakhurst Dairy
        between May 5, 2008 and August 29, 2012 and received from Oakhurst Dairy at
        least one non-zero dollar check for compensable work during that time period.

 The Court recognizes certification under this Order is for settlement purposes only, and shall not

 constitute, or be construed as, an admission by Defendants that this action is appropriate for class

 certification for any other purpose. If, for any reason, the Settlement is not granted final

 approval, entry of this Order is without prejudice to the rights of Defendants to oppose

 certification of the Named Plaintiffs’ claims as a class action.

        4.      The Court APPOINTS Plaintiffs’ Counsel, Jeffrey N. Young, David G. Webbert,

 and Carol J. Garvan, of the law firm of Johnson, Webbert & Young, LLP, as class counsel.

        5.      The Court APPOINTS the Named Plaintiffs─Christopher O’Connor, Kevin

 O’Connor, James Adam Cox, Michael Fraser, and Robert McNally─as class representatives.

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        6.     The Court finds that the Notice of Proposed Class Action Settlement advises of

 the pendency of the litigation and of the proposed settlement, of the timing and procedures for

 Class Members to request exclusion from the Class and the Settlement (i.e., to opt out), and of

 the Final Approval Hearing. The Notice fairly and adequately advises Class Members of: the

 terms of the proposed Settlement and the benefits available to Class Members thereunder; their

 right to request exclusion from (or to "opt-out" of) the Class and the procedures for doing so;

 their right to file documentation in support of or in opposition to the Settlement and procedures

 for doing so; the date, time and location of the Final Approval Hearing; and the procedures that

 Class Members must follow to be heard at the Final Approval Hearing. The Court further finds

 that the Notice comports with all Constitutional requirements including those of due process.

 Accordingly, good cause appearing, the Court hereby authorizes the proposed Notice of

 Proposed Class Action Settlement, as attached to the Settlement Agreement and Release as

 Exhibit A.

        7.     The Court APPROVES the selection and designation of KCC Class Action

 Administration as Settlement Administrator, and the payment of reasonable administration costs

 to be paid from the Global Settlement Fund.

        8.     Accordingly, GOOD CAUSE APPEARING, the Court hereby APPROVES the

 proposed Notice of Settlement and establishes the following deadlines:

               a. Within seven (7) business days after entry of this Order, Defendants will

                   provide to the Settlement Administrator and to Plaintiffs’ Counsel the names,

                   last known U.S. mail and email address, and Social Security number for each

                   Settlement Class Member; and Plaintiffs will provide to the Settlement




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               Administrator all contact information in their possession for each Settlement

               Class Member.

            b. Within twenty (20) calendar days of entry of this Order, the Settlement

               Administrator will compare the provided U.S. mail address to information

               available from the U.S. Postal Service or similar database, and send to each

               Settlement Class Member by U.S. first class mail, postage pre-paid, the Notice

               of Settlement to the Member’s current U.S. mail address. The Court finds that

               mailing the Notice to the present and/or last known addresses of the Class

               Members constitutes an effective method of notifying Class Members of the

               Litigation, the proposed Settlement, and their rights with respect to it. The

               Court finds that the mailing of notices to Class Members as set forth in this

               paragraph is the best means practicable by which to reach Class Members and

               is reasonable and adequate in accord with all constitutional and statutory

               requirements, including all due process requirements.

            c. Within ten (10) calendar days of receiving notice from the U.S. Postal Service

               that a Notice of Settlement was undeliverable, the Settlement Administrator

               shall, after utilizing up-to-date practices to determine a current U.S. mail

               address, re-mail the Notice of Settlement.

            d. Within sixty (60) calendar days after the Court issues this Preliminary

               Approval Order, Plaintiffs’ counsel will file a motion for approval of

               reasonable attorneys’ fees, costs, and litigation expenses, and a motion for

               approval of Service Awards payable to the Named Plaintiffs, all of which are

               to be paid from the Global Settlement Fund.



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               e. Within forty-five (45) calendar days from the mailing of the Notice of

                   Settlement (45 days from the second mailing for those whose first mailing was

                   returned undeliverable), any request to opt out of the Settlement, containing

                   the information required by the Notice of Settlement, must be timely

                   postmarked and mailed to the Settlement Administrator. Any Settlement Class

                   Member who does not provide a timely notice of opting out that complies

                   with the Notice of Settlement, or who provides such notice but then rescinds

                   it, shall be bound by the terms of the Settlement if finally approved by the

                   Court.

               f. Within forty-five (45) calendar days from the mailing of the Notice of

                   Settlement (45 days from the second mailing for those whose first mailing was

                   returned undeliverable), any objections to the Settlement that include all of the

                   information required by the Notice of Settlement, must be timely postmarked

                   and mailed to the Settlement Administrator.

        9.     Under Federal Rule of Civil Procedure 23(e)(5), members of the Settlement Class

 may object to the terms of the settlement. Settlement Class Members who object to the proposed

 Settlement may appear and present such objections at the Final Approval Hearing in person or by

 counsel, provided any such objecting Settlement Class Member has submitted to the Settlement

 Administrator timely notices of objection and of intention to appear that comply with the

 requirements of the Notice of Settlement. Settlement Class Members who timely and fully

 provide to the Settlement Administrator objections as set forth in the Notice of Settlement, or

 their counsel, may be heard at the Final Approval Hearing; and no briefs or other papers may be




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 received or considered unless the papers have been filed, and served on counsel for all parties, at

 least ten (10) days before the Final Approval Hearing.

        10.     On _______________________, 2018 at ______ __.m. in Courtroom ___ at the

 Edward T. Gignoux United States Courthouse, 156 Federal Street, Portland, Maine 04101,

 counsel for the parties shall appear before the undersigned for a Final Approval Hearing, at

 which the Court will consider the fairness, adequacy and reasonableness of the proposed

 Settlement, and to consider the application of Class Counsel Johnson Webbert & Young, LLP,

 for an award of reasonable attorneys' fees, litigation expenses, and for costs of claims

 administration incurred. No later than thirty (30) calendar days before the Final Approval

 Hearing, all briefs in support of the proposed Settlement and fee and cost applications shall be

 served and filed with the Court.

        11.     Pending further order of this Court, all proceedings in this matter except those

 contemplated herein and in the Settlement Agreement are stayed.


 SO ORDERED.

 /s/ Nancy Torresen
 United States Chief District Judge

 Dated: ______________, 2018




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